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E-FILED; Frederick Circuit Court

Docket: 6/26/2020 7:02 PM; Submission; 6/26/2020 7:02 PM

IN THE CIRCUIT COURT OF MARYLAND FOR FREDERICK COUNTY

LAUREN M. BREEDEN
19508 Ridge Heights Drive
Gaithersburg, MD 20879

Plaintiff
Vv.

WAL-MART REAL ESTATE BUSINESS TRUST
702 S.W. 8TH Street
Bentonville, AR 72716

Serve On:

The Corporation Trust, Incorporated
2405 York Road, Suite 201

Lutherville Timonium, MD 21093-2264

AND

WALMART INC.
701 South Walton Bivd.
Bentonville, AR 72716

Serve On:

The Corporation Trust, Incorporated
2405 York Road, Suite 201

Lutherville Timonium, MD 21093-2264

AND

WALMART CLAIMS SERVICES, INC.
702 S.W. 8TH Street
Bentonville, AR 72716

Serve On:

The Corporation Trust, Incorporated
2405 York Road, Suite 204

Lutherville Timonium, MD 21093-2254

AND

WAL-MART STORES EAST, LP
702 S.W. 8TH Street
Bentonville, AR 72716

serve On:
The Corporation Trust, Incorporated
2405 York Road, Suite 201

Case No.:

 

 

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Lutherville Timonium, MD 21093-2264

Defendants

COMPLAINT
(Negligence)

Plaintiff, Lauren Marie Breeden, by and through counsel, Meliha Pérez Halpern, Esq.,
and ChasenBoscolo Injury Lawyers, brings this cause of action against Defendant, The Home
Depot, for damages resulting from injuries that occurred as a result of the Defendant's
negligence.

INTRODUCTION

1. This Court's subject matter jurisdiction over this action is based on Md. Cts. & Jud. Proc.
Code Ann. Section 1-501.

" 2. This Court's personal jurisdiction is based on Md. Cts. & Jud. Proc Code Ann. Section 6-

102 (a) and 6-103(b). |

3. This Court's venue is based on Md. Cts. & Jud. Proc. Code Ann. Section 6-201(a) and 6-
202(11). . |

PARTIES

4. Plaintiff Lauren M. Breeden is a resident of the Gaithersburg in Maryland.

5. Upon information and belief, Defendant, Wal-Mart Real Estate Business Trust, Inc. is a
business entity with a principal place of business located in Bentonville, Arkansas, that is
registered to conduct, and does conduct, business in Maryland.

6. Upon information and belief, Defendant, Wal-Mart Real Estate Business Trust, Inc.,
maintains a business location in Frederick, Frederick County, Maryland.

7. Upon information and belief, Defendant, Walmart, Inc. is a business entity with a
principal place of business located in Bentonville, Arkansas that is registered to conduct,
and does conduct, business in Maryland.

8. Upon information and belief, Defendant, Walmart, Inc., maintains a business location in

Frederick, Frederick County, Maryiand.
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Upon information and belief, Defendant, Walmart Claims Services, Inc. is a business
entity with a principal place of business located in Bentonville, Arkansas, that is
registered to conduct, and does conduct, business in Maryland.

Upon information and belief, Defendant, Walmart Claims Services, Inc., maintains a
business location in Frederick, Frederick County, Maryland.

Upon information and belief, Defendant, WalMart Stores East, LP is a business entity
with a principal place of business located in Bentonville, Arkansas that is registered to
conduct, and does conduct, business in Maryland.

Upon information and belief, Defendant, Wal-Mart Stores East, LP ' maintains a
business location in Frederick, Frederick County, Maryland.

STATEMENT OF FACTS

 

On or about July 11, 2017 Ms. Breeden was shopping at Wal-Mart located in Frederick,
Maryland.

While shopping, a store clerk was placing boxed fans on the top shelf and allowed a
boxed fan to drop onto Ms. Breeden causing her to suffer serious injuries.

At the time of the incident, to protect persons from being injured, it was the duty of
Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc., Walmart Ciaims
Services, Inc.; and/or Wal-Mart Stores East, LP t o provide a reasonably safe shopping
environment for their customers.

At the time of the incident, to protect oersens from being injured, it was the duty of
Defendant Wal-Mart Real Estate Business Trust, Inc., Walmart, Inc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP to not to endanger customers.

At the time of the incident, to protect persons from being injured, it was the duty of
Defendant Wal-Mart to warn customers of potential dangers in their aisles.

At the time of the incident, to protect persons from being injured, it was the duty of

Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc., Walmart Claims
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Services, inc.; and/or Wal-Mart Stores East, LP , in general, to be careful in the choices
it made concerning placing objects on high shelves.

At the time of this incident, to protect persons from being injured, it was the duty of
Oefendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP to exercise reasonable care when
retrieving objects from high shelves.

At the time of this incident, to peateat persons from being injured it was the duty of Wal-
Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims Services, Inc.;
and/or Wal-Mart Stores East, LP to block off the aisle when placing heavy merchandise
on the top shelves.

At the time of this incident, to protect persons from being injured it was the duty of Wal-
Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims Services, Inc.
and/or Wal-Mart Stores East, LP to not place heavy merchandise on top shelves while a
customer was standing next to where the merchandise was being placed.

At the time of this incident, to protect persons from being injured, it was the duty of Wal-
Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims Services, Inc.;
and/or Wal-Mart Stores East, LP to ensure employees were properly trained to ensure
customer safety when retrieving objects from shelves.

At the time of this incident, to protect persons from being injured, it was the duty of Wal-
Mart Real Estate Business Trust, Inc., Walmart, Inc.; Walmart Claims Services, Inc.;
and/or Wal-Mart Stores East, LP to properly supervise employees to prevent injuries to
customers.

At the time of this incident, to protect persons from being injured, it was the duty of Wal-
Mart Real Estate Business Trust, Inc.; Walmart, inc.; Walmart Claims Services, Inc.;
and/or Wal-Mart Stores East, LP to hire only qualified employees to prevent injuries to

customers.
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At the time of this incident, it was the duty of Wal-Mart Real Estate Business Trust, fne.;
Walmart, Inc., Walmart Claims Services, Inc.; and/or Wal-Mart Stores East, LP to report
any incidents in which customers were injured.

Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP breached its duty when it chose not to
maintain a reasonably safe shopping environment.

Defendant Wal-Mart Real Estate Business Trust, tne: Walmart, [nc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to
exercise reasonable care while placing objects on top shelves.

Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to block
off the aisle.

Defendant Wal-Mart Real Estate Business Trust, inc.; Walmart, Inc.; Walmart Claims
Services, inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to clear
customers from the area where the merchandise was being placed on top shelves.
Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, inc.; Walmart Claims
Services, Inc.; andfor Wal-Mart Stores East, LP breached its duty when it failed to warn
their customers about the dangerous condition.

Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to train
their employees.

Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, Inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to

properly supervise their employees.
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Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, Inc.; Walmart Claims
Services, inc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to hire
qualified employees.
Defendant Wal-Mart Real Estate Business Trust, Inc.; Walmart, inc.; Walmart Claims
Services, lnc.; and/or Wal-Mart Stores East, LP breached its duty when it failed to report
the incident.
As a direct and proximate result of allowing the heavy box to fall, Ms. Breeden sustained
permanent and uncompensated injuries. These injuries include past, present and future
pain, suffering, lack of mobility and disfigurement. These injuries caused and continue to
cause Ms. Breeden to expend great sums of money for hospitals, physicians, and
related care and treatrnent. Ms. Breeden suffered and continues to suffer from mental
and emotional damages, including fright, shock, and anguish. Further, Ms. Breeden lost
and will continue to lose wages and business opportunities.
Ms. Breeden neither contributed to the negligence that caused the accident, nor did she
assume the risk of the accident.

STATEMENT OF CLAIMS

COUNT 1

(NEGLIGENCE vs. DEFENDANT WAL-MART REAL ESTATE BUSINESS TRUST, INC.)

37.

The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
thirty-six above and, in addition, avers that Defendant Wal-Mart Real Estate Business
Trust, Inc. failed to exercise reasonable care thereby causing Ms. Breeden to sustain

severe and permanent injuries.

COUNT 2

(NEGLIGENCE vs. DEFENDANT WALMART, INC.)
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38. The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
thirty-seven above and, in addition, avers that Defendant Walmart, Inc. failed to exercise
reasonable care thereby causing Ms. Breeden to sustain severe and permanent injuries.

COUNT 3
(NEGLIGENCE vs. DEFENDANT WALMART CLAIMS SERVICES, INC.)

39. The Plaintiff Lauren M. Biawaed incorporates the allegations of paragraphs one through
thirty-eight above and, in addition, avers that Defendant Walmart Claims Services, Inc.
failed to exercise reasonable care thereby causing Ms. Breeden to sustain severe and
permanent injuries.

COUNT 4
(NEGLIGENCE vs. DEFENDANT WAL-MART STORES EAST, LP)

40. The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
thirty-nine above and, in addition, avers that Defendant Wal-Mart Stores East, LP failed
to exercise reasonable care thereby causing Ms. Breeden to sustain severe and
permanent injuries.

COUNT 5
(NEGLIGENT HIRING, TRAINING, RETENTION AND SUPERVISION vs. DEFENDANT
WAL-MART REAL ESTATE BUSINESS TRUST, INC.)

41. The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
forty above and, in addition, avers that Defendant Wal-Mart Real Estate Business Trust,
Inc. did not properly hire, train, retain and supervise its employee, constituting a faifure to

be reasonably careful and justifying an award of monetary damages against it.

COUNT &

(NEGLIGENT HIRING, TRAINING, RETENTION AND SUPERVISION vs. WALMART, INC.)
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42. The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
forty-one above and, in addition, avers that Defendant Walmart, Inc. did not properly
hire, train, retain and supervise its employee, constituting a failure to be reasonably

careful and justifying an award of monetary damages against it.
COUNT 7

(NEGLIGENT HIRING, TRAINING, RETENTION AND SUPERVISION vs. WALMART

CLAIMS SERVICES, INC.)

43. The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
forty-two above and, in addition, avers that Defendant Walmart Claims Services, Inc. did
not properly hire, train, retain and supervise its employee, constituting a failure to be

reasonably careful and justifying an award of monetary damages against it.
COUNT 8

(NEGLIGENT HIRING, TRAINING, RETENTION AND SUPERVISION vs. WAL-MART

STORES EAST, LP)

44, The Plaintiff Lauren M. Breeden incorporates the allegations of paragraphs one through
forty-four above and, in addition, avers that Defendant Wal-Mart Stores East, LP did not
properly hire, train, retain and supervise its employee, constituting a failure to be

reasonably careful-and justifying an award of monetary damages against it.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff, Lauren M. Breeden, prays for a judgment in her favor

against the Defendants, jointly and severally, and that damages be awarded in an amount in
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excess of $75,000.00, plus interest from the date of the subject occurrence and costs of this suit

’ together with such other and further relief as this Court deems proper.

JURY DEMAND

The Plaintiff demands a trial by jury on all issues presented.

By:

Respectfully submitted,

CHASENBOSCOLO, INJURY LAWYERS

QE LC

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Counsel for Ms. Breeden
